Case 3:17-cv-00072-NKM-JCH Document 1003-20 Filed 08/11/21 Page 1 of 5 Pageid#:
                                   16800




                  EXHIBIT 18
Case 3:17-cv-00072-NKM-JCH Document 1003-20 Filed 08/11/21 Page 2 of 5 Pageid#:
                                   16801
Case 3:17-cv-00072-NKM-JCH Document 1003-20 Filed 08/11/21 Page 3 of 5 Pageid#:
                                   16802
Case 3:17-cv-00072-NKM-JCH Document 1003-20 Filed 08/11/21 Page 4 of 5 Pageid#:
                                   16803
Case 3:17-cv-00072-NKM-JCH Document 1003-20 Filed 08/11/21 Page 5 of 5 Pageid#:
                                   16804
